        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 1 of 25




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WISCONSIN
__________________________________________
                                           :
UNITED STATES SECURITIES                   :
AND EXCHANGE COMMISSION,                  :
                                          :
                   Plaintiff,             :
                                          :  CASE NO. 15-cv-45
             v.                           :
                                          :
LOREN W. HOLZHUETER, and ISC, Inc.        :
(d/b/a Insurance Service Center),         :  JURY DEMANDED
                                           :
                   Defendants, and         :
                                           :
HONEFI, LLC,                               :
                                           :
                   Relief Defendant.       :
_________________________________________ :

                                       COMPLAINT

       Plaintiff United States Securities and Exchange Commission (the “SEC” or

“Commission”) alleges as follows:

       1.     This case centers on a fraudulent scheme perpetrated by Defendant Loren W.

Holzhueter and the insurance brokerage business that he owns and controls – ISC, Inc.,

d/b/a Insurance Service Center (“ISC”).

       2.     Holzhueter has long worked as an insurance broker and provider of tax and

accounting services in the area in and around Watertown and Oconomowoc, Wisconsin.

Over the years, Holzhueter has built relationships of trust in the communities he served.

Many of his clients have used him for tax and insurance services for decades. Often

Holzhueter provided services to multiple members of the same extended family. Holzhueter

was adept at generating business amongst the local farming community in the greater

Watertown area and he attended the same church as some of his clients.
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 2 of 25




       3.     From at least January 2008 through November 2014, Holzhueter has

exploited his network of clients, business associates and friends to recruit investors for ISC.

Holzhueter has been enormously successful in this effort; from January 2008 through

November 2014, he raised at least $10.4 million from approximately 122 investors.

       4.     But, in raising funds for ISC, Holzhueter and ISC have (a) lied to prospective

investors about the nature of their investment and the use of their funds, and (b) operated a

classic Ponzi scheme – using funds from new investors to pay returns to old investors.

       5.     In persuading his victims to invest in ISC, Holzhueter told a wide array of

lies. Holzhueter told some investors that their investments would be placed in a separate

investment account at ISC and that they could withdraw their funds at any time. Holzhueter

told other investors that their money would be invested in mutual funds or bonds. He told

some investors that their investment would be placed in an Individual Retirement Account

(“IRA”) or a similar tax-deferred account. Holzhueter offered other investors so-called

“promissory notes” that he said would be used to “grow ISC’s business” and/or expand

ISC’s operations through the acquisition of other insurance agencies.

       6.     None of the forgoing representations was true. In reality, Holzhueter and ISC

deposited investor funds directly into ISC’s general bank accounts and used investor funds

to (a) fund ISC’s payroll and general operations, (b) pay off ISC’s existing bank debts, and

(c) make payments to Holzhueter and entities under his control.

       7.     In addition, Holzhueter and ISC hid four critical pieces of information from

his most recent investors: that (a) at least as of 2012, Holzhueter and ISC were engaging in a

Ponzi scheme – i.e., a portion of the amounts raised from new ISC investors were being

used to make interest and principal payments to previous ISC investors, (b) in November




                                               2
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 3 of 25




2013, ISC had its records seized by the Internal Revenue Service, Criminal Investigative

Division (“IRS-CI”) pursuant to a search warrant, and (c) ISC raised new investor funds

and paid at least $637,000 from the account where investor funds were kept to Holzhueter’s

and ISC’s defense attorneys –to make settlement payments to a redeeming investor.

       8.     By making material misrepresentations and omissions to ISC investors, and

by engaging in a fraudulent Ponzi scheme, Holzhueter and ISC have committed securities

fraud in violation of Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange

Act”) [15 U.S.C. §78j(b)] and Rule 10b-5 thereunder [17 C.F.R. 240.10b-5] and Section

17(a) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)]. In addition,

Defendant Holzhueter is liable as a control person under Section 20(a) of the Exchange Act

[15 U.S.C. § 78t(a)] for the violations by ISC identified herein.

       9.     ISC benefited from defrauding its investors – it had use of at least $10.4

million of investor funds.

       10.    In addition to keeping his business afloat with investors’ money, Holzhueter

personally benefitted from defrauding investors in ISC. Specifically: (a) out of the accounts

where investor funds were comingled with other ISC revenue, Holzhueter and his family

personally received over $511,000 in investor funds from ISC; (b) ISC used $230,000 of

investors’ cash to pay off a loan owed by Relief Defendant Honefi, LLC (“Honefi”) – an

entity that Holzhueter controls and owns with his wife; (c) ISC paid approximately

$166,350 from accounts in which investor funds were kept to Honefi; and (d) used some

investor funds to make payments on ISC debts that Holzhueter had personally guaranteed.




                                               3
           Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 4 of 25




       11.      The SEC brings this lawsuit to halt Defendants’ ongoing violations of the

federal securities laws, to prevent further harm to investors, and to seek disgorgement and

civil penalties stemming from Defendants’ wrongdoing, among other remedies.

                               JURISDICTION AND VENUE

       12.      The SEC brings this action pursuant to Section 20(b) of the Securities Act [15

U.S.C. §77t(b)], and Sections 21(d) and 21(e) of the Exchange Act [15 U.S.C. §§78u(d) and

78u(e)].

       13.      This Court has jurisdiction over this action pursuant to Section 22 of the

Securities Act [15 U.S.C. § 77v] and Section 27 of the Exchange Act [15 U.S.C. § 78aa].

       14.      Venue is proper in this Court pursuant to Section 27 of the Exchange Act [15

U.S.C. § 78aa]. Many of the acts, practices and courses of business constituting the

violations alleged herein have occurred within the jurisdiction of the United States District

Court for the Western District of Wisconsin.

       15.      Defendants Holzhueter and ISC reside and conduct business within the

Western District of Wisconsin.

       16.      Defendants directly and indirectly made use of the means and

instrumentalities of interstate commerce and of the mails in connection with the acts,

practices, and courses of business alleged herein, and will continue to do so unless enjoined.

                                        DEFENDANTS

       17.      Loren W. Holzhueter, age 69, is a resident of Jefferson County, Wisconsin.

Holzhueter is the president, Chief Executive Officer (“CEO”), majority owner and

registered agent of Defendant ISC, and is part-owner and managing member of Relief

Defendant Honefi.



                                                4
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 5 of 25




       18.     ISC, Inc., is a Wisconsin corporation formed in 1985 and headquartered in

Watertown, Wisconsin. ISC is an insurance brokerage – owned and controlled by

Defendant Holzhueter – that sells homeowners, auto, farm, and life insurance policies and

the investments described in this lawsuit. ISC has at least 12 offices – operating under

various names – throughout the State of Wisconsin.

                                  RELIEF DEFENDANT

       19.     Honefi, LLC is a Wisconsin limited liability company with its principal place

of business in Watertown, Wisconsin. Holzhueter owns Honefi along with his wife and

controls its operations.

                                             FACTS

Background:

       20.     Loren Holzhueter is a longtime resident of Jefferson County, Wisconsin and

has worked in the area of Oconomowoc and Watertown, Wisconsin for at least the past 30

years. He has owned a tax preparation business, Quality Tax and Accounting Services,

LLC (“Quality Tax”), since 1985.

       21.     In the 1990s, Holzhueter joined the Watertown-based insurance brokerage

ISC which sold a wide array of insurance policies. After joining ISC, Holzhueter continued

to offer tax services through Quality Tax.

       22.     Prior to being acquired by Holzhueter, ISC had five offices, approximately 30

employees, and carried little or no debt. It was funded by its owners and through its

ongoing operations; it did not solicit investments or loans from clients to support its

operations.




                                               5
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 6 of 25




       23.    In 2004, Holzhueter purchased ISC from its original owner. Since that

purchase, Holzhueter has been ISC’s President and majority owner. At all times since that

purchase, ISC has been controlled and operated by Holzhueter.

       24.    After purchasing ISC, Holzhueter attempted to expand its operations. ISC

grew to 12 offices throughout Wisconsin, often by acquiring other insurance agencies.

Between 2011 and 2012 alone, ISC’s payroll grew from $900,000 for 28 employees to $2.1

million for 54 employees.

       25.    As ISC’s operations expanded, its operating income was not enough to keep

up with the company’s expenses. ISC, therefore, took on debt from its custodian banks.

       26.    According to ISC’s internal financial statements, as of June 30, 2010, ISC

owed over $183,000 on a line of credit extended by its custodian bank and had a negative

cash balance in its general account of over $270,000.

       27.    ISC’s bank debt expanded in 2011. According to ISC’s internal financial

statements, by August 31, 2011, it had an outstanding balance of $169,385 on the line of

credit, had taken out a new bank loan with an outstanding principal balance of over

$388,115, and had a negative cash balance in its general account of $432,896.97.

Holzhueter Raises Money From Investors:

       28.    ISC’s bank debt was not enough to fund ISC’s operations. As Holzhueter

expanded ISC’s offices and payroll and took on additional bank debt, he also raised money

from individuals – including many clients of his insurance and tax preparation business.

       29.    Holzhueter encouraged people who trusted him to invest their money with

ISC. Many of ISC’s investors are family, friends, and tax and insurance clients that

Holzhueter has known for years – sometimes decades. Holzhueter gained some investors’



                                              6
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 7 of 25




trust because he does their taxes and sells them insurance products, so he has an

understanding of their personal finances. Holzhueter met other investors because he had a

considerable client base among the local community.

       30.    From at least January 2008 through November 2014, Holzhueter raised at

least $10.4 million from at least 122 investors. Some of the investors Holzhueter recruited

are retired and have modest or limited financial resources.

       31.    Holzhueter told certain investors that they were opening investment accounts

with ISC. He told other investors that he would use their funds to expand ISC’s business

by purchasing other insurance agencies or buying out his business partners.

       32.    In exchange for their investments, Holzhueter and ISC offered investors a

guaranteed fixed-rate of return. Depending on the investor, Holzhueter offered a

guaranteed return usually ranging from 2% to more than 8% – which was in excess of the

then-prevailing rates for bank deposits, CDs and other fixed-return investment vehicles.

       33.    Holzhueter often portrayed this as a liquid investment; he often assured

investors that they could redeem their investment or withdraw some of their principal at any

time. He told others that – rather than receiving monthly interest payments by check – they

could “reinvest” the interest by leaving it in their ISC account.

       34.    Holzhueter was the primary contact for individual investors in ISC.

Holzhueter typically communicated with investors in person or on the phone and received

investment funds from clients by check during face-to-face meetings. ISC sent many

investors their purported interest payments through the U.S. Mail.

       35.    The investments that Holzhueter solicited in ISC were documented in various

ways. For some investors, Holzhueter created a “Promissory Note” that was provided to the




                                               7
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 8 of 25




investor. The “Promissory Note” typically identified the principal amount, the annual

interest rate and maturation date.

       36.    In other instances, Holzhueter provided the investor with a signed receipt,

prepared on a form document bearing ISC’s name that he signed. The receipts indicated that

the funds were an investment and identified the date of the investment and, in some

instances, indicated the interest rate to be paid and the frequency of the interest payments.

Holzhueter met with these ISC investors periodically to apprise them of their account

performance, sometimes in conjunction with a review of their tax returns. He provided

most of these investors with summaries of their account performance on ISC letterhead.

These so-called “Summary Sheets” indicated the investor’s name, the amount invested,

date(s) of investment, and the total balance as of a given date. Some Summary Sheets also

indicate the interest rate. To support the summaries, Holzhueter often provided so-called

“transaction details” or an “Interest / Earnings Statement.”

       37.    All of the ISC investments – regardless of how they were documented – are

“securities” as that term is defined in Exchange Act Section 3(a)(10) [15 U.S.C. §

78c(a)(10)] and Securities Act Section 2(a)(1) [15 U.S.C. § 77b(a)(1)].

Holzhueter’s Misrepresentations and Omissions to ISC Investors:

       38.    In the course of convincing investors to invest their money with ISC,

Holzhueter made several material misrepresentations and omissions about the nature of the

investment. Specifically, Holzhueter: (a) falsely told a number of investors that their money

would be placed in segregated investment accounts, (b) falsely told certain investors that

their funds were invested in mutual funds or bonds, (c) falsely told several investors that




                                               8
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 9 of 25




their funds were invested in a tax-deferred account, and (d) falsely told a number of other

investors that he was raising funds to “buy out” the widow of a former business partner.

       39.    In addition, Holzhueter failed to tell investors the truth about how their funds

would be used. While ISC, indeed, used some of the amounts Holzhueter raised from

investors to fund the expansion of ISC, that was not the only way investor funds were used.

Investor funds were deposited into ISC’s general accounts – where they were intermingled

with other revenue – and ISC used these funds to (a) fund general operations; (b) fund

payroll for ISC’s employees; (c) make payments to Holzhueter and entities under his

control; (d) pay ISC’s existing bank debt; (e) pay Honefi’s bank debt; (f) make Ponzi scheme

payments to earlier investors as purported interest payments earned on their investments, or

to redeem all or part of their principal investments; and (g) make payments to Holzhueter’s

and ISC’s defense attorneys with the aim of making settlement payments to a redeeming

investor.

       40.    Finally, Holzhueter failed to inform those who invested after November 2013

that IRS-CI was investigating him or that the IRS-CI had seized ISC’s records pursuant to a

search warrant.

Holzhueter Lied About the Nature and Risks of the ISC Investment:

       41.    From 2008 through November 2014, Holzhueter led many prospective ISC

investors to believe that their investments would be placed in separate investment accounts

and that they could withdraw their funds at any time.

       42.    He told some of these investors that the funds placed in these separate

investment accounts were invested in mutual funds, bonds or other secure investments.




                                              9
       Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 10 of 25




       43.    For example, Holzhueter – acting through ISC – led at least two investors to

believe that (a) they were opening up a separate investment account invested in mutual

funds and (b) were opening a separate Uniform Gift to Minor Account for each of their four

children.

       44.    Starting in June 2012, Holzhueter and ISC successfully convinced a married

couple (“Investors A&B”) to make an investment with ISC. Investors A&B invested funds

they received by redeeming accounts at another brokerage. They told Holzhueter that they

would use this investment for their retirement (the “Retirement Funds”). They invested the

proceeds of these redemptions with ISC beginning in June 2012.

       45.    Holzhueter told Investors A&B that their Retirement Funds would be placed

in a separate investment account at ISC. He even asked them how he should title the ISC

account that held the Retirement Funds.

       46.    In July 2012, Investors A&B invested additional funds with ISC for their

children’s education. Holzhueter assured Investors A&B that these funds would be invested

in Uniform Gift to Minor Accounts (“UGMAs”) that would allow funds to be applied

toward the education of their children. A UGMA is a tax-advantaged account that allows

parents to act as custodian for an account in their child’s name, and allows the custodian to

make withdrawals for limited purposes (including education) until the child turns 21, at

which point the child is given full control of the account.

       47.    Although Holzhueter never fulfilled his promise to place Investor A&B’s

investment in a separate account or to open any Uniform Gift to Minor Accounts for their

children, Holzhueter attempted to maintain that illusion. For example, during two meetings

in the second half of 2013, Holzhueter provided Investors A&B with handwritten notes and




                                              10
       Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 11 of 25




a “Summary Sheet” indicating their funds were invested in separate accounts that had been

growing at a rate of at least 5%. He also told them that the Retirement Funds were invested

in mutual funds and other similar securities.

       48.    During these same two meetings, Holzhueter led Investors A&B to believe –

through both oral representations and a document Holzhueter provided Investors A&B –

that the investment for the benefit of their children was in a separate account.

       49.    Holzhueter also told several other investors that their separate investment

account would be a tax deferred account (such as an IRA, 401(k), or similar tax-deferred

vehicle).

       50.    For example, in November 2012, Holzhueter recommended that one of his

clients, “Investor C,” roll over his IRA account at another brokerage to an investment

account at ISC. Investor C agreed and invested over $97,000 of his retirement savings with

ISC.

       51.    Holzhueter told Investor C that his account at ISC would be a Simplified

Employee Pension Individual Retirement Account (“SEP-IRA”) or similar tax-deferred

account that Holzhueter would manage. Holzhueter told Investor C he could get his money

back at any time.

       52.    Holzhueter provided Investor C with Summary Sheets showing that his

investment earned 5.2%, but did not disclose where the funds were invested or what the

underlying securities were.

       53.    Instead of rolling Investor C’s investment into a tax-sheltered SEP-IRA, ISC

deposited $97,076.38 of Investor C’s savings into an ISC checking account that had a $0

balance. Within ten days, Investor C’s funds were entirely dissipated. Instead of




                                                11
           Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 12 of 25




maintaining Investor C’s funds in a tax-deferred account, Holzhueter and ISC used Investor

C’s money, among other things, to (a) fund ISC’s general business operations, (b) make over

$33,000 in payments to meet ISC’s payroll, (c) pay approximately $7,500 to one of ISC’s

lenders and (d) transfer $7,000 to Holzhueter and Honefi.

           54.   Investor C subsequently invested $5,449 in January 2013 and $38,500, in

April 2013, $16,000 of which was to be deposited into his tax-deferred account for tax year

2012. Investor C’s $5,449 investment was instead deposited into an ISC checking account

with a $0 balance and was used the same day to fund cashier’s checks payable to

Holzhueter. Investor C’s $38,500 investment was deposited into an ISC checking account

with a $0 balance and was dissipated the same day to fund, among other things, payments

on ISC’s bank loan, bank fees, and payments to other investors.

           55.   Between January 2008 and November 2014, Holzhueter – acting through

ISC – told other investors that their funds were being used to finance ISC’s expansion,

including the acquisition of specific insurance businesses.

           56.   The representations identified in Paragraphs 38-55 were false when made. In

reality:

                 (a)          As to Investors A&B and similarly situated investors,
                              Holzhueter and ISC did not place investor funds in separate
                              investment accounts of any kind – and specifically did not place
                              investor funds in Uniform Gift to Minor Accounts;

                 (b)          As to Investors A&B and similarly situated investors, none of
                              investors’ funds were invested in mutual funds, bonds or any
                              similar investment vehicle;

                 (c)          As to Investor C and similarly situated investors, Holzhueter
                              and ISC did not place investor funds into a SEP-IRA or similar
                              tax-deferred account; and




                                               12
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 13 of 25




              (d)           Holzhueter and ISC did not use investor funds exclusively to
                            expand and/or finance the acquisition of other insurance
                            agencies.

        57.   Instead of investing the amounts raised as they represented to investors,

Holzhueter and ISC took investors’ cash and placed it directly into ISC’s operating

accounts. While a portion of the invested funds was used to purchase other insurance

agencies as part of ISC’s expansion, Holzhueter and ISC used investor funds for other

purposes, including to meet ISC’s payroll, to pay off ISC’s bank loans, and to make

payments to Holzhueter and his family. Moreover, as alleged in paragraphs 71-79 below,

investor funds also were used to perpetuate a Ponzi scheme (i.e., new investor funds were

used to make interest and principal payments to old investors).

        58.   Each of the misrepresentations identified in paragraphs 38-55 above were

material. In making an investment decision, a reasonable investor would deem it important

that:

              (a)           instead of placing the investors’ funds in a segregated
                            investment account that the investor could access at any time,
                            Holzhueter and ISC fed investor funds directly into ISC’s
                            general accounts where they were intermingled;

              (b)           instead of placing investor funds into an IRA or similar tax
                            deferred account, funds were sent to ISC’s general accounts;

              (c)           instead of investing in mutual funds and/or other conservative
                            investments, at best, all investor funds were invested in a small,
                            private insurance agency (ISC) with a heavy debt load; and

              (d)           instead of solely using investor cash to fund ISC’s purchase of
                            insurance agencies, portions of investors’ principal were used to
                            (i) satisfy ISC’s payroll, (ii) make payments on ISC’s existing
                            bank debt, (iii) make payments to Holzhueter and other entities
                            Holzhueter’s owned and (iv) engage in a Ponzi scheme (i.e., use
                            new investor cash to make interest and principal payments to
                            earlier ISC investors).



                                             13
       Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 14 of 25




       59.    In making the misrepresentations and omissions identified in paragraphs 38-

55 above, Holzhueter and ISC acted with scienter. At the time he told prospective investors

about the nature of their investment, Holzhueter knew – or recklessly disregarded – that the

representations in paragraphs 38-55 above were not true.

Holzhueter Lied about Raising Money to Buy Out Former Partners:

       60.    As alleged in paragraph 31 above, Holzhueter often told investors that their

investment would be used to finance the purchase of other insurance agencies. After May

2014, he began to tell investors that he needed funds for the purchase of a specific agency

located in Beaver Dam, Wisconsin.

       61.    Specifically, by May 2014, Holzhueter began telling potential investors that

he needed additional cash to buy out a former business partner’s ownership interest in a

Beaver Dam insurance agency. Holzhueter told several prospective investors that his

“partner” in Beaver Dam, had died suddenly, and that he needed to buy-out the former

partner’s widow. He told other investors that he needed the money to provide financial

assistance to the widow. He told some of these investors he needed to raise between

$200,000 and $250,000 for these purposes.

       62.    Holzhueter’s story was false. In fact, Holzhueter and ISC already had

purchased the ownership interest in the Beaver Dam office and had completed payments

due to the former owner’s widow under the purchase agreement months earlier -- in January

2014. Moreover, neither the original owner of the Beaver Dam agency nor his widow has

ever sought financial assistance from ISC or Holzhueter.

       63.    The misrepresentations described in paragraphs 60-61 above were material.

In making decisions regarding their investments, a reasonable investor would find it


                                              14
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 15 of 25




important that their investment was not being used as represented – i.e., to finance the

further expansion of ISC – but rather was being placed into ISC’s general accounts and used

to keep ISC operating.

        64.   In making the misrepresentations identified in paragraphs 60-61 above,

Holzhueter and ISC acted with scienter. At the time he informed prospective investors that

their investment would be used to fund the outstanding balance of the purchase price of the

Beaver Dam agency, Holzhueter knew that ISC’s purchase was already complete and that

investor funds would instead be placed in ISC’s general accounts.

Holzhueter Failed to Disclose to Prospective Investors that He is the Subject of an IRS
Investigation:

        65.   Defendant Holzhueter has been the subject of a criminal investigation of the

IRS-CI. According to an unsealed November 4, 2013 search warrant affidavit, Holzhueter is

being investigated for potential violations of federal law, including mail fraud, wire fraud,

and money laundering.

        66.   In November 2013, the IRS-CI executed a search warrant at ISC’s

headquarters in Watertown. In connection with that search, IRS agents seized electronic

media, customer files, bank records and other financial records both in paper and electronic

form.

        67.   After the November 2013 search, Holzhueter – acting through ISC –

continued to raise money from investors. From November 2013 to the present, Defendants

raised approximately $2.8 million from 46 investors.

        68.   After November 2013, Holzhueter and ISC did not tell all of his current and

prospective investors that Holzhueter was under investigation by the IRS-CI and that ISC’s

records had been seized during a search of its headquarters.


                                              15
       Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 16 of 25




       69.      This was a material omission. Before investing in ISC’s expansion – an

investment presumably dependent on ISC’s ability to generate revenue – a reasonable

investor would consider it important that (a) the person who controlled ISC was under

criminal investigation, and (b) the company at the heart of the investment had been the

subject of a search and seizure conducted by agents of the IRS-CI.

       70.      In making the material omissions identified in paragraphs 65-68 above,

Holzhueter and ISC acted with scienter. Holzhueter was present during the search of ISC’s

headquarters by the IRS-CI in November 2013. At the time he solicited and accepted

investments in ISC after November 2013, Holzhueter knew that he was under investigation

by the IRS-CI and that ISC’s computers and records had been seized during a search of its

headquarters.

Holzhueter Operates ISC As A Ponzi Scheme:

       71.      As ISC’s expansion continued, its financial condition deteriorated. For

example – according to ISC’s internal financial statements – in the first eight months of

2011, ISC had a net loss of $182,151.61 and, as of August 31, 2011, had current assets of

($230,998.18). By the end of June 2013, ISC had only $554 in its general accounts.

       72.      Although he raised more than $3.2 million from investors after June 2013,

ISC continued to burn through its cash. By the end of October 2014, ISC had just over

$19,500 left in its general accounts.

       73.      To meet his mounting obligations to pay interest and principal to investors,

Holzhueter and ISC engaged in a fraudulent Ponzi scheme; they used money raised from

new ISC investors to pay off interest obligations and principal redemptions owed to ISC’s

existing investors.



                                               16
       Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 17 of 25




      74.    For example, Investors A&B demanded that Holzhueter return the funds they

invested with ISC. Holzhueter met this redemption request by paying Investors A&B a total

of $140,000 by checks dated February 4, 2014. To make those payments, Holzhueter used

new investor proceeds that had been deposited on January 22, 2014.

      75.    Holzhueter and ISC also diverted investor funds through their defense

attorneys to make settlement payments to a redeeming investor. For example:

             (a)    On March 17, 2014, ISC received $55,000 from an investor. On the
                    same day, Holzhueter purchased a $55,000 cashier’s check drawn on
                    an ISC bank account payable to ISC. In turn, Holzhueter cashed that
                    cashier’s check on March 28, 2014 to make up part of the purchase
                    price of a $75,000 cashier’s check payable to ISC’s and Holzhueter’s
                    defense counsel;

             (b)    On March 25, 2014, ISC received $275,000 from investors and, just
                    three days later, Holzhueter purchased a $325,000 cashier’s check
                    using funds from ISC’s bank account, payable to ISC’s and
                    Holzhueter’s defense counsel;

             (c)    On April 21, 2014, ISC received $40,000 from an investor and, on the
                    same day, Holzhueter purchased a $40,000 cashier’s check using funds
                    from ISC’s bank account that was then endorsed over to ISC’s and
                    Holzhueter’s defense counsel;

             (d)    On May 5, 2014, ISC received $6,000 from an investor and deposited
                    it in ISC’s account. Two days later, a $5,000 check payable to ISC’s
                    and Holzhueter’s defense counsel cleared the same account; and

             (e)    On May 27, 2014, ISC received funds from two investors: one
                    investment of $125,000 and another investment of $50,000. The same
                    day, Holzhueter bought two cashier’s checks that he endorsed over to
                    ISC’s and Holzhueter’s defense counsel: one for $125,000 and one for
                    $50,000. These investors’ funds were deposited into the ISC account
                    that Holzhueter used to fund the cashier’s checks.


      76.    In total – including the $620,000 payments identified in paragraph 75(a)-(e) –

Holzhueter and ISC transferred approximately $637,000 to ISC’s and Holzhueter’s defense

counsel between March 2014 and May 2014.


                                            17
       Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 18 of 25




       77.    The transfers of $620,000 of investor funds to ISC’s and Holzhueter’s defense

counsel identified in paragraph 75(a)-(e) were then used to make two settlement payments –

totaling $620,000 – to redeem an investor in ISC who was demanding a return of principal.

       78.    Holzhueter did not disclose to prospective investors in ISC that a portion of

their investments could be used to make principal and interest payments to earlier investors

or to complete settlement payments to investors seeking to redeem their investment.

       79.    Holzhueter and ISC have continued to raise funds from investors and

continued to operate a Ponzi scheme to meet their interest and principal obligations. Since

May 2014, ISC has received approximately $1.7 million in new investments from at least 32

investors. Rather than use the $1.7 million as represented, Holzhueter and ISC have used

the majority of those funds to perpetuate their Ponzi scheme and for Holzhueter’s personal

benefit. Of the $1.7 million raised, approximately $1.4 million was used to make interest

and principal payments to other investors, and approximately $103,000 was transferred to

Holzhueter and entities under his control.

Holzhueter Transfers Investor Funds to Honefi:

       80.    In addition to using investor assets to pay off obligations to old investors and

to pay himself, Holzhueter also used investor funds to pay obligations of another entity that

he controls – Honefi.

       81.    In June 2010, Honefi repaid a $638,464.54 bank loan. ISC repaid a portion of

Honefi’s loan from ISC’s accounts. In doing so, ISC used at least $230,000 of investor funds

to pay down Honefi’s debt.




                                              18
       Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 19 of 25




       82.    In addition, between April 21, 2009 and November 10, 2014, ISC made

payments to Honefi – out of the accounts into which investor funds were comingled with

other ISC revenue – totaling $166,350.

       83.    The proceeds identified in paragraphs 81-82 are the proceeds of the violations

committed by Defendants Holzhueter and ISC described in this Complaint.

       84.    Relief Defendant Honefi has no legitimate claim to the amounts received

from ISC identified in paragraphs 81-82.

The Ponzi Scheme Runs Out of Cash:

       85.    Holzhueter’s payments to investors were, ultimately, unsustainable. Even as

he continued to raise hundreds of thousands of dollars from investors every month, ISC’s

financial situation remained grim.

       86.    Even though ISC received over $400,000 from investors in October 2014 – on

top of its normal operating revenue – by the end of October 2014, ISC had only $19,592.83

in cash remaining in its general accounts.

       87.    Holzhueter raised an additional $253,000 from investors in just the first three

weeks of November 2014. Yet, by the end of November 2014, ISC had only $30,807.95 in

its general accounts.

       88.    Notwithstanding Holzhueter’s continued solicitation of investments for ISC,

on December 1, 2014, ISC’s bank sent Holzhueter a “Notice of Default,” stating that ISC

had defaulted on a $150,000 line of credit with the bank.


       89.    Although he had promised investors that they could access their principal and

get access to their money at any time, Holzhueter is now delaying or refusing to make

payments demanded by worried investors.


                                             19
       Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 20 of 25




Holzhueter Invokes the Fifth Amendment in Response to Questions Posed by the SEC:

       90.     As part of its investigation into the securities law violations identified in this

Complaint, the SEC issued an investigative subpoena to Holzhueter requiring him to appear

and provide testimony under oath to the SEC regarding the funds he raised from investors.

       91.     At Holzhueter’s December 3, 2014 investigative testimony, the SEC asked

Holzhueter questions about ISC, including questions about: (a) Holzhueter’s representations

to prospective investors; (b) Holzhueter and ISC’s use of funds raised from investors; (c)

ISC’s financial condition; (d) Holzhueter’s transfer of investor funds to himself, his family

and entities under his control; and (e) Holzhueter and ISC’s use of new investor funds to

pay off earlier investors.

       92.     Holzhueter refused to answer any of the substantive questions posed by the

SEC and invoked his right against self-incrimination under the Fifth Amendment to the

U.S. Constitution.

                                         COUNT I
                      Violations of Section 10(b) of the Exchange Act,
                               and Exchange Act Rule 10b-5
                               (Against Holzhueter and ISC)
       93.     Paragraphs 1 through 92 are realleged and incorporated by reference.
       94.      As more fully described in paragraphs 38 through 79, Defendants Holzhueter

and ISC, in connection with the purchase and sale of securities, by the use of the means and

instrumentalities of interstate commerce and by the use of the mails, directly and indirectly:

used and employed devices, schemes and artifices to defraud; made untrue statements of

material fact and omitted to state material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading; and

engaged in acts, practices and courses of business which operated or would have operated as



                                                20
         Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 21 of 25




a fraud and deceit upon purchasers and prospective purchasers of securities.


         95.    As described in more detail in paragraphs 38 through 79 above Defendants

acted with scienter in that they knowingly or recklessly made the material

misrepresentations and omissions and engaged in the fraudulent scheme identified above.


         96.    By reason of the foregoing, Defendants Holzhueter and ISC violated Section

10(b) of the Exchange Act [15 U.S.C. §78j(b)] and Rule 10b-5 thereunder [17 C.F.R.

240.10b-5].

                                         COUNT II
                     Violations of Section 17(a)(1) of the Securities Act
                         (Against Defendants Holzhueter and ISC)
         97.    Paragraphs 1 through 92 are realleged and incorporated by reference as

though fully set forth herein.

         98.    By engaging in the conduct described in paragraphs 38-79 above, Holzhueter

and ISC in the offer and sale of securities, by the use of the means and instruments of

interstate commerce, directly or indirectly, employed devices, schemes and artifices to

defraud.

         99.    Defendants Holzhueter and ISC intentionally or recklessly engaged in the

devices, schemes, artifices, transactions, acts, practices and courses of business described

above.

         100.   By reason of the foregoing, Defendants Holzhueter and ISC violated Section

17(a)(1) of the Securities Act [15 U.S.C. § 77q(a)(1)].




                                               21
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 22 of 25




                                         COUNT III
                 Violations of Sections 17(a)(2) and (3) of the Securities Act
                                (Against Holzhueter and ISC)
       101.     Paragraphs 1 through 92 are realleged and incorporated by reference as

though fully set forth herein.

       102.     By engaging in the conduct described in paragraphs 38-79 above, Defendants

Holzhueter and ISC, in the offer and sale of securities, by the use of the means and

instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly, have:

           a. obtained money or property by means of untrue statements of material
              fact or by omitting to state material facts necessary in order to make
              the statements made, in light of the circumstances under which they
              were made, not misleading; and
           b. engaged in transactions, practices, or courses of business that operated
              or would operate as a fraud or deceit upon the purchasers of such
              securities.
       103.     Defendants Holzhueter and ISC made the untrue statements and omissions of

material fact and engaged in the devices, schemes, artifices, transactions, acts, practices and

courses of business described above.

       104.     By reason of the foregoing, Defendants Holzhueter and ISC have violated

Sections 17(a)(2) and (3) of the Securities Act [15 U.S.C. § 77q(a)(2)-(3)].

                                        COUNT IV
              Control Person Liability Under Section 20(a) of the Exchange Act
                              (Against Defendant Holzhueter)

       105.     Paragraphs 1 through 92 are realleged and incorporated by reference as if set

forth fully herein.

       106.     Defendant ISC violated Section 10(b) of the Exchange Act [15 U.S.C.

§§78j(b)] and Rule 10b-5 [17 C.F.R. §240.10b-5(a) and (c)] thereunder as described in Count

38-79 above, which is incorporated by reference as if set forth fully herein.


                                               22
       Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 23 of 25




       107.   Holzhueter controlled the day-to-day affairs of ISC and possessed, directly or

indirectly, the power to direct or cause the direction of the management and policies of ISC.

Holzhueter was involved in the formulation and execution of the fraudulent acts,

misrepresentations and omissions by ISC described in paragraphs 38 through 79 above.

       108.   Holzhueter directly or indirectly controlled ISC within the meaning of Section

20(a) of the Exchange Act [15 U.S.C. § 78t(a)].

       109.   Holzhueter is liable as a control person for the violations by ISC of Section

10(b) of the Exchange Act [15 U.S.C. §§78j(b)] and Rule 10b-5 [17 C.F.R. §240.10b-5(a) and

(c)] thereunder.

       110.   Pursuant to Section 20(a) of the Exchange Act [15 U.S.C. § 78t(a)],

Holzhueter is liable jointly and severally with and to the same extent as ISC.

                                          COUNT V
                                  (Relief Defendant Honefi)

       111.   Paragraphs 1 through 92 are realleged and incorporated by reference.

       112.   In June 2010, Holzhueter and ISC transferred investor funds for the benefit of

Relief Defendant Honefi. These transfers were, in part, used to pay off Honefi’s existing

debt to a bank.

       113.   In total, in June 2010, Honefi benefitted from ISC’s transfer of at least

$230,000 in investor principal.

       114.   In addition, between April 21, 2009 and November 10, 2014, ISC made

payments to Honefi – out of the accounts into which investor funds were comingled with

other ISC revenue – totaling $166,350.

       115.   The proceeds identified in paragraphs 113-114 are the proceeds of the

violations committed by Defendants Holzhueter and ISC described in this Complaint.


                                              23
       Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 24 of 25




       116.      Relief Defendant Honefi has no legitimate claim to the amounts received

from ISC identified in paragraphs 113-114, and therefore was unjustly enriched by receiving

those funds.

                                    RELIEF REQUESTED

       WHEREFORE, the Commission respectfully requests that this Court:

                                              I.

       Issue findings of fact and conclusions of law that defendants committed the

violations charged and alleged herein.

                                              II.

       Enter an Order of Permanent Injunction restraining and enjoining Defendants

Holzhueter and ISC, their officers, agents, servants, employees, attorneys and those persons

in active concert or participation with defendants who receive actual notice of the Order, by

personal service or otherwise, and each of them from, directly or indirectly, engaging in the

transactions, acts, practices or courses of business described above, or in conduct of similar

purport and object, in violation of Section 17(a) of the Securities Act [15 U.S.C. §§ 77q(a)],

and Section 10(b) of the Exchange Act [15 U.S.C. § 78j] and Rule 10b-5 [17 CFR § 240.10b-

5] thereunder.

                                              III.

       Issue an Order requiring Defendants – and Relief Defendant Honefi – to disgorge the

ill-gotten gains received as a result of the violations alleged in this Complaint, including

prejudgment interest.


                                              IV.

       With regard to the Defendants’ violative acts, practices and courses of business set


                                               24
        Case: 3:15-cv-00045-jdp Document #: 1 Filed: 01/21/15 Page 25 of 25




forth herein, issue an Order imposing upon defendants appropriate civil penalties pursuant

to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)], and Section 21(d)(3) of the

Exchange Act [15 U.S.C. § 78u(d)(3)].

                                                V.

       Retain jurisdiction of this action in accordance with the principals of equity and the

Federal Rules of Civil Procedure in order to implement and carry out the terms of all orders

and decrees that may be entered or to entertain any suitable application or motion for

additional relief within the jurisdiction of this Court.

                                               VI.

       Grant such other relief as this Court deems appropriate.

                                       JURY DEMAND

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Commission hereby

requests a trial by jury.

                                     UNITED STATES SECURITIES
                                     AND EXCHANGE COMMISSION

                                     By: /s/Robert M. Moye ___ ___________
                                     Timothy S. Leiman (Leimant@sec.gov )
                                     Robert Moye (Moyer@sec.gov)
                                     Jennifer S. Peltz (PeltzJ@sec.gov)
                                     Ariella O. Guardi (Guardia@sec.gov)

                                     Chicago Regional Office
                                     175 West Jackson Blvd., Suite 900
                                     Chicago, IL 60604
                                     Telephone: (312) 353-7390

                                     Attorneys for Plaintiff




                                                25
